Case 1:23-mi-99999-UNA Document 2907-8 Filed 09/08/23 Page 1 of 1

DEKALB COUNTY SHERIFF’S OFFICE ORI: GA0440000
ARREST / INCIDENT REPORT CASE NUMBER: 22S011-003901
A WNCIDENT TYPE CTS | PREMISE TYPE
WARRANT ARREST 1
INCIDENT LOCATION
ra
as INCIDENT DATE TIME DATE TIME | STRANGER TO STRANGER WEAPON TYPE
e TO
COMPLAINANT
ADDRESS PHONE NUMBER
me VICTIM'S NAME RACE SEX AGE RESIDENCE PHONE
=
s VICTIM’S ADDRESS BUSINESS PHONE
ms WITNESS NAME & ADDRESS PHONE NUMBER
(ea)
E WITNESS NAME & ADDRESS PHONE NUMBER
Ea ARREST DATE ARREST TIME LOCATION OF ARREST
11/25/2022 4:40 PM DEKALB COUNTY JAIL
mS NAME OF PERSON ARRESTED (LAST, FIRST, MIDDLE) ALIAS OR NICKNAME
mS REID, RANDAL Q Reid, Randal Quran
a ADDRESS OF SUBJECT (NUMBER & STREET/APT #) CITY/ STATE/ ZIP CODE
ei 1724 CARISSA DR CONYERS, GA, 30094
“4 PHONE NUMBER DRIVER’S INFORMATION STATE EXPIRES
S GA
> HEIGHT | WEIGHT PLACE OF BIRTH
ra 160 GA
es OCCUPATION/EMPLOYER WORK ADDRESS
WORK PHONE NUMBER ARRESTING OFFICER CURRENT DATE
CHANG 11/30/2022
[WARRANT NUMBER F/M DATE OF OFFENSE CHARGES CTS BOND
22W018886 F 11/25/2022 FUGITIVE FROM JUSTICE 1 NONE
4 LARCENY/LOUISIANA
5
=
34 IMPOUND TAG NUMBER STATE YEAR VIN
=
YEAR MAKE MODEL STYLE COLOR
x Subject was arrested on DeKalb County Warrant 22W018886, issued by Judge TAYLOR charging Fugitive from Justice from
= LOUISIANA. On NOV 29, 2022, the fugitive was taken before a DeKalb County Magistrate Judge where he signed a waiver
[= Of extradition agreeing to return to said state. Subject is ready for pick-up and the demanding state has been contacted.
REPORTING OFFICER NUMBER | APPROVING OFFICER NUMBER
CHANG 2848

PLAINTIFF’S
EXHIBIT

5

